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                    THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF DELAWARE

UNWIRED GLOBAL SYSTEMS
LLC,
                                              CASE NO. 1:23-CV-01169-CFC
       Plaintiff,
                                              PATENT CASE
              v.                              JURY TRIAL DEMANDED

PARTICLE INDUSTRIES, INC.,

       Defendant.

             AMENDED PLAINTIFF’S RULE 7.1 STATEMENT

      Pursuant to Fed. R. Civ. P. 7.1 and the Court’s Standing Order Regarding

Disclosure Statement Required by Federal Rule of Civil Procedure 7.1, Plaintiff

Unwired Global Systems LLC (“Plaintiff”) states that it does not have a parent

corporation and that there is no publicly held corporation owning ten percent or more

of its stock. Plaintiff’s sole member and owner is Jeffrey Gross.


Date: October 26, 2023                     Respectfully submitted,


                                           /s/ John C. Phillips, Jr.
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